     Case 2:11-cr-00054-TLN-CKD Document 189 Filed 01/16/14 Page 1 of 2


     CLYDE M. BLACKMON (SBN 36280)
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 2   Sacramento, CA 95825
     Telephone: (916) 444-9845
 3
     Attorneys for Defendant
 4   VICTOR ALVARADO
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                   Case No.: 2:11-CR-0054 TLN
11
12               Plaintiff,                      ORDER REGARDING WAIVER OF
                                                 POTENTIAL CONFLICT OF
13        vs.                                    INTEREST
     CHRISTOPHER JACKSON,
14
15               Defendant.
16
17         GOOD CAUSE APPEARING based on the attached letter signed by
18   Clyde M. Blackmon, Victor Alvarado and Pamela Alvarado
19   explaining the potential conflict of interest between Victor
20   Alvarado and Pamela Alvarado, and Victor Alvarado and Pamela
21   Alvarado having waived the potential conflict of interest, it is
22   ordered that Clyde M. Blackmon and the law firm of Rothschild
23   Wishek & Sands, LLP may represent Victor Alvarado and Pamela
24   Alvarado in connection with their claims of Fifth Amendment
25   privilege against self-incrimination raised in response to the
26   subpoenas that were served upon them in the matter of United
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                  ORDER REGARDING WAIVER OF POTENTIAL CONFLICT OF INTEREST
     Case 2:11-cr-00054-TLN-CKD Document 189 Filed 01/16/14 Page 2 of 2



 1   States of America v. Christopher Jackson, Case No, Cr. S: 11-cr-
 2   0054 TLN.
 3         IT IS SO ORDERED.
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     Dated: January 15, 2014
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 8
                                          Troy L. Nunley
 9                                        United States District Judge

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                  ORDER REGARDING WAIVER OF POTENTIAL CONFLICT OF INTEREST
